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United States Bankruptcy Court.';3333 =;':?3 22 233 2=
EASTERN DIStrlCt Of TEXAS ».-l.:",i`.}.' ,j .`. 1" ' " t";f"" "

 

 

ln re Payson Petroleum 3 Well 2014, Ll_:' Case NO_ _1_7'40180 _

Debtor

 

Jointly Admi'nistered"' '

 

 

Defendant

)
)

JASON R. SEARCY, CHAPTER 11 TRUST_EE ) Chapter 7
FoR PAYsoN PETROLEUM, iNc. §
Plaimiff )
)

v_ ) Adv. Proc. No_ 18`04076

Barbara Austin ))
)

T€Eaz>/Alé

    

SUMMONS IN AN ADVERSARY PROCEEDING
YOU ARE sUivn\/ioNED and required 30 file a motion arm _
this summons with the clerk of the bankruptcy court within | - a .-` 5 - c . e of issuance of this

summons, except that the United States and its offices and agencies shall file a motion or answer to the
complaint within 35 days.

 

 

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' TJ§]_BM Court Clcrk Eastern District o as
Address of the

Cl€l‘ki 660 North Central Expressway, Suite 300B

Plano, TX 75074
972-509-1240 /
At the same time, you must also serve a copy of the motion or answer upon the plaintiffs attorney.
Name and Address of Plaintift‘s Attorney: Blake Harnm/Bryan Prentice/Aaron Guerrcro
Snow Spence Green LLP

2929 Allen Parkway, #2800
Houston, TX 77019 713.335.4800

If you make a motion, your time to answer is governed by Fecl. R. Bankr. P. 7012.

 

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT

l AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.

 

Date: 09/25/2018

 

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CERTIFICFE OF SERVICE ;!jj;j ;::_-i§‘ 22 era o: _r_t=:_

I, ;E)RI?AIE l‘q E. AQ BEGme), certify that serviced thi's;'_summons ranle copy of
the complaint was made UC-FLZ_L / q (date) by.'

Cl Mail service: Regular, first class United States mail, postage-fully pré;paid§ addressed
to:

El Personal Service: By leaving the process with the defendant or with an officer or agent
of defendant at:

Cl Residence Service.' By leaving the process with the following adult at:

M Certified Mail Service on an Insured Depository Institution: By sending the process by
certified mail addressed to the following officer of the defendant at;

E| Publication: The defendant was served as follows: [Describe briefiy]

|:| State Law: The defendant was served pursuant to the laws of the State of , as
follows.' [Describe briefly]

If service was made by personal service, by residence service, or pursuant to state law, l further
certify that l am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning Which service of process Was made.

Under penalty of perjury, I declare that the foregoing is true and correct

Date /Z)" /§ 'F/g Signature 73 “{é' / “ -'t"
PrmiName; _B‘?R E’/¢h@‘f IQ. /Q'L! §‘/7¢([
Business Address: f ;ZQO /_`_L_{L<Tcz/(/ 577

BR/WZBA! ___ 60 °35`§0?__77

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